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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


GLENN MILLER, on behalf of himself and all                   Civil Case Number: _____________
others similarly situated,

                        Plaintiff(s),                                  CIVIL ACTION

                       -against-                            CLASS ACTION COMPLAINT
                                                           AND DEMAND FOR JURY TRIAL

CONVERGENT OUTSOURCING, INC., and
JOHN DOES 1-25,

                        Defendant(s).



        Plaintiff, GLENN MILLER, on behalf of himself and all others similarly situated

(hereinafter “Plaintiff”) by and through his undersigned attorney, alleges against the above-

named Defendant, CONVERGENT OUTSOURCING, INC., (“CONVERGENT"),                                 JOHN

DOES 1-25 their employees, agents, and successors (collectively "Defendants") the following:

                                   PRELIMINARY STATEMENT

        1.      Plaintiff brings this action for damages and declaratory relief arising from the

Defendants' violation of 15 U.S.C. § 1692 et seq., the Fair Debt Collection Practices Act

(hereinafter “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive and

unfair practices.

                                   JURISDICTION AND VENUE

        2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. This is

an action for violations of 15 U.S.C. § 1692 et seq.

        3.      Venue is proper in this district under 28 U.S.C. §1391(b)(2) because the acts of

the Defendant that give rise to this action, occurred in substantial part, in this district.
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                                         DEFINITIONS

       4.      As used in reference to the FDCPA, the terms “creditor,” “consumer,” “debt,” and

“debt collector” are defined in § 803 of the FDCPA and 15 U.S.C. § 1692a.



                                            PARTIES

       5.      The FDCPA, 15 U.S.C. § 1692 et seq., which prohibits certain debt collection

practices provides for the initiation of court proceedings to enjoin violations of the FDCPA and

to secure such equitable relief as may be appropriate in each case.

       6.      Plaintiff is a natural person and a resident of Bronx, New York, and is a

“Consumer” as defined by 15 U.S.C. § 1692a(3).

       7.      CONVERGENT maintains a location at 800 SW 39th. Street, Renton, WA 98057.

       8.      Upon information and belief, CONVERGENT uses the mail, telephone, and

facsimile and regularly engages in business the principal purpose of which is to attempt to collect

debts alleged to be due another.

       9.      CONVERGENT is a “Debt Collector” as that term is defined by 15 U.S.C. §

1692(a)(6).

       10.     John Does 1-25, are fictitious names of individuals and business alleged for the

purpose of substituting names of defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                              CLASS ACTION ALLEGATIONS

       11.     Plaintiff brings this action as a state wide class action, pursuant to Rule 23 of the

Federal Rules of Civil Procedure (hereinafter “FRCP”), on behalf of himself and all City of New

York consumers and their successors in interest (the “Class”), who were sent debt collection
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letters and/or notices from the Defendants which are in violation of the FDCPA, as described in

this Complaint.

       12.      This Action is properly maintained as a class action. The Class is initially defined

as:

                x   All City of New York consumers who were sent letters and/or notices from

                    CONVERGENT concerning a debt owed to VERIZON WIRELESS, which

                    contained at least one of the alleged violations of 15 U.S.C. § 1692 et seq.

                    herein.

                    The class definition may be subsequently modified or refined. The Class

                    period begins one year to the filing of this Action.

       13.      The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

class action:

                x   Upon information and belief, the Class is so numerous that joinder of all

                    members is impracticable because there may be hundreds and/or thousands of

                    persons who were sent debt collection letters and/or notices from the

                    Defendants that violate specific provisions of the FDCPA. Plaintiff is

                    complaining of a standard form letter and/or notice. (See Exhibit A, except

                    that the undersigned attorney has, in accordance with Fed. R. Civ. P. 5.2

                    redacted the financial account numbers and/or personal identifiers in an effort

                    to protect Plaintiff’s privacy);

                x   There are questions of law and fact which are common to the Class and which

                    predominate over questions affecting any individual Class member. These

                    common questions of law and fact include, without limitation:
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             a.      Whether the Defendants violated various provisions of the FDCPA

                     including but not limited to:

                     15 U.S.C. §§ 1692e; 1692e(2)(A); 1692e(2)(B); 1692e(10); and

                     1692f et seq.

             b.      Whether Plaintiff and the Class have been injured by the

                     Defendants’ conduct;

             c.      Whether Plaintiff and the Class have sustained damages and are

                     entitled to restitution as a result of Defendants’ wrongdoing and if

                     so, what is the proper measure and appropriate statutory formula to

                     be applied in determining such damages and restitution; and

             d.      Whether Plaintiff and the Class are entitled to declaratory and/or

                     injunctive relief.

      x   Plaintiff’s claims are typical of the Class, which all arise from the same

          operative facts and are based on the same legal theories.

      x   Plaintiff has no interest adverse or antagonistic to the interest of the other

          members of the Class.

      x   Plaintiff will fairly and adequately protect the interest of the Class and has

          retained experienced and competent attorneys to represent the Class.

      x   A Class Action is superior to other methods for the fair and efficient

          adjudication of the claims herein asserted. Plaintiff anticipates that no unusual

          difficulties are likely to be encountered in the management of this class action.

      x   A Class Action will permit large numbers of similarly situated persons to

          prosecute their common claims in a single forum simultaneously and without
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                   the duplication of effort and expense that numerous individual actions would

                   engender. Class treatment will also permit the adjudication of relatively small

                   claims by many Class members who could not otherwise afford to seek legal

                   redress for the wrongs complained of herein. Absent a Class Action, class

                   members will continue to suffer losses of statutory protected rights as well as

                   monetary damages. If Defendants’ conduct is allowed to proceed without

                   remedy, they will continue to reap and retain the proceeds of their ill-gotten

                   gains.

               x   Defendants have acted on grounds generally applicable to the entire Class,

                   thereby making appropriate final injunctive relief or corresponding

                   declaratory relief with respect to the Class as a whole.

                                   STATEMENT OF FACTS

       14.     Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15

U.S.C. § 1692a(3).

       15.     Sometime prior to October 10, 2016, Plaintiff allegedly incurred a financial

obligation to VERIZON WIRELESS (“VERIZON”).

       16.     The VERIZON obligation arose out of a transaction, in which money, property,

insurance or services, which are the subject of the transaction, are primarily for personal, family

or household purposes.

       17.     The VERIZON obligation is a "debt" as defined by 15 U.S.C. § 1692a(5).

       18.     VERIZON is a "creditor" as defined by 15 U.S.C. § 1692a(4).

       19.     On or before October 10, 2016, VERIZON WIRELESS referred the VERIZON

WIRELESS obligation to CONVERGENT for the purpose of collections.
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       20.     At the time VERIZON WIRELESS referred the VERIZON WIRELESS

obligation to CONVERGENT, the obligation was past due.

       21.     At the time VERIZON WIRELESS referred the VERIZON obligation to

CONVERGENT, the obligation was in default.

       22.     Defendant caused to be delivered to Plaintiff a letter dated October 10, 2016,

which was addressed to Plaintiff. Exhibit A.

       23.     The October 10, 2016 letter was sent to Plaintiff in connection with the collection

of the VERIZON obligation.

       24.     The October 10, 2016 letter is a “communication” as defined by 15 U.S.C. §

1692a(2).

       25.     Upon receipt, Plaintiff read the October 10, 2016 letter.

       26.     The October 10, 2016 letter provides the following information regarding the

Total Balance claimed due on the VERIZON obligation:

       Current Balance: $1,373.02

       27.     The October 10, 2016 letter also stated in part that:

               "The records of Verizon Wireless show that your balance of
               $1,373.02 is due in full."

       28.     The Principal due stated in the October 10, 2016 letter included an amount for a

collection fee and/or interest.

       29.     The October 10, 2016 letter failed to disclose that the Total Balance included an

amount for a collection fee and/or interest.

       30.     The October 10, 2016 letter failed to disclose that the Total Balance included an

amount for a collection fee of 18%.
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        31.    At the time that CONVERGENT sent the October 10, 2016 letter to Plaintiff, the

Principal was approximately $1,163.57.00.

        32.    All or some portion of the collection fee was included in the $1,373.02 Principal

claimed due in the October 10, 2016 letter.

        33.    The $1,373.02 Principal claimed in the October 10, 2016 letter contained all or

some of the collection fee.

        34.    CONVERGENT knew or should have known that its actions violated the FDCPA.

        35.    CONVERGENT could have taken the steps necessary to bring its actions within

compliance with the FDCPA, but neglected to do so and failed to adequately review its actions to

ensure compliance with the law.

                          POLICIES AND PRACTICES COMPLAINED OF

        36.    It is CONVERGENT's policy and practice to send written collection

communications, in the form annexed hereto as Exhibit A, which violate the FDCPA, by inter

alia:

               (a)     Using false, deceptive or misleading representations or means in
                       connection with the collection of a debt;

               (b)     Using unfair or unconscionable means to collect or attempt to collect any
                       debt; and

               (c)     Making a false representation of the character or amount of the debt.


        37.    On information and belief, CONVERGENT sent written communications in the

form annexed hereto as Exhibit A, to at least 50 natural persons in the City of New York with

one year of this Complaint.
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                                                COUNT I

                      FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. §
                                  1692 et seq. VIOLATIONS

        38.     Plaintiff, on behalf of herself and others similarly situated, repeats and realleges all

prior allegations as if set forth at length herein.

        39.     Collection letters and/or notices, such as those sent by CONVERGENT, are to be

evaluated by the objective standard of the hypothetical “least sophisticated consumer.”

        40.     CONVERGENT’s collection letters and/or notices would cause the least

sophisticated to be confused as to the meaning of “Principal balance” and as to whether that

balance consisted of fees, costs and/or interest.

        41.     CONVERGENT’s collection letters and/or notices would cause the least

sophisticated consumer to believe that the Total Balance due consisted of only Principal.

        42.     CONVERGENT’s letters were designed to cause the least sophisticated consumer

to believe that the Total Balance claimed due consisted of only Principal.

        43.     The content of CONVERGENT’s letter was designed to cause the least

sophisticated consumer to believe that the Total Balance claimed due consisted of only Principal.

        44.     CONVERGENT violated 15 U.S.C. § 1692e of the FDCPA by using any false,

deceptive or misleading representation or means in connection with their attempts to collect

debts from Plaintiff and others similarly situated.

        45.     CONVERGENT violated 15 U.S.C. § 1692e of the FDCPA in connection with

their communications to Plaintiff and others similarly situated.

        46.     Section 1692e(2)(A) of the FDCPA prohibits a debt collector from making a false

representation of the character, amount or legal status of a debt.
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       47.     CONVERGENT violated 15 U.S.C. § 1692e(2)(A) by making false

representations of the character and legal status of the debt.

       48.     CONVERGENT violated 15 U.S.C. § 1692e(2)(A) by misrepresenting the

amount claimed due as Principal in the October 10, 2016 letter.

       49.     CONVERGENT violated 15 U.S.C. § 1692e(2)(A) by misrepresenting the

character of the debt as entirely Principal.

       50.     CONVERGENT violated 15 U.S.C. § 1692e(2)(A) by representing the “Total

Balance” as principal when in fact it contained fees, costs and/or interest.

       51.     CONVERGENT violated 15 U.S.C. § 1692e(2)(B) by misrepresenting that a

collection fee was lawfully due.

       52.     Section 1692e(10) prohibits the use of any false representation or deceptive

means to collect or attempt to collect any debt.

       53.     CONVERGENT violated 15 U.S.C. § 1692e(10) by misrepresenting the amount

claimed due as Principal in the May 27, 2016 letter.

       54.     CONVERGENT violated 15 U.S.C. § 1692e(10) by misrepresenting that a

collection fee was due.

       55.     CONVERGENT attempt to collect the alleged debt by misrepresenting the nature

and amount of the alleged amount due violated various provisions of the FDCPA including but

not limited to: 15 U.S.C. §§ 1692e; 1692e(2)(A); 1692e(2)(B); 1692e(10); and 1692f et seq.

       56.     Section 1692f et seq. of the FDCPA prohibits a debt collector from using unfair or

unconscionable means to collect or attempt to collect any debt.
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        57.    CONVERGENT violated Section 1692f et seq. of the FDCPA by attempting to

collect interest and/or a "collection fee", which it is not authorized or permitted by law to charge

or collect.

        58.    Congress enacted the FDCPA in part to eliminate abusive debt collection

practices by debt collectors.

        59.    Plaintiff and others similarly situated have a right to free from abusive debt

collection practices by debt collectors.

        60.    Plaintiff and others similarly situated have a right to receive proper notices

mandated by the FDCPA.

        61.    Plaintiff and others similarly situated were sent letters which would have affected

their decision-making with regard to the debt.

        62.    Plaintiff and others similarly situated have suffered harm as a direct result of the

abusive, deceptive and unfair collection practices described herein.

        63.    Plaintiff has suffered damages and other harm as a direct result of the

CONVERGENT's actions, conduct, omissions and violations of the FDCPA described herein.

        WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               (a)     Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and the attorneys, Joseph K. Jones, Esq., and Glen H.

Chulsky, Esq., as Class Counsel;

               (b)     Awarding Plaintiff and the Class statutory damages;

               (c)     Awarding Plaintiff and the Class actual damages;

               (d)     Awarding pre-judgment interest;

               (e)     Awarding post-judgment interest.
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                (f)     Awarding Plaintiff costs of this Action, including reasonable attorneys'

fees and expenses; and

              (g)    Awarding Plaintiff and the Class such other and further relief as the Court
may deem just and proper.


Dated: November 11, 2016

                                             s/ Joseph K. Jones
                                             Joseph K. Jones, Esq.
                                             JONES, WOLF & KAPASI, LLC
                                             555 Fifth Avenue, Suite 1700
                                             New York, NY 10017
                                             (646) 459-7971 telephone
                                             (646) 459-7973 facsimile
                                             jkj@legaljones.com




                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.

                                             s/ Joseph K. Jones
                                             Joseph K. Jones, Esq.
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               Exhibit

                            A
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